        Case 20-41250           Doc 18 Filed 07/11/20 Entered 07/11/20 23:32:57                        Imaged
                                      Certificate of Notice Pg 1 of 4


                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Missouri
                                        Thomas F. Eagleton U.S. Courthouse
                                       111 South Tenth Street, Fourth Floor
                                               St. Louis, MO 63102


In re:                                                            Case No.: 20−41250 − A399
Steven John Gymer Sr                                              Chapter: 7
Debtor(s)



                                             DISCHARGE OF DEBTOR(S)


It appearing that the debtor(s) is/are entitled to a discharge,
IT IS ORDERED THAT:
The debtor(s) is/are granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).

The holder of any claim for unpaid pre−petition child support is entitled to have the Trustee provide such creditor
with notice of the creditor's right to use the services of the state child support enforcement agency and supply such
creditor with the address and telephone number of the state child support enforcement agency and an explanation of
the creditor's rights to payment in the bankruptcy case. Any creditor may request such notice and information by
writing the Trustee. Such creditor is further entitled to have the Trustee provide the creditor with (i) notice of the
granting of the discharge, (ii) any last known address of the debtor, (iii) the debtor's most recent employer, and (iv)
information concerning other claims on which the debtor may be liable following the discharge. Failure to request
such information from the Trustee shall be a waiver of the right to receive such notice from the Trustee.


                                                                  BY THE COURT



                                                                  U. S. Bankruptcy Judge




Dated: 7/8/20
St. Louis, Missouri
Rev. 12/17 3180




                      SEE PAGE 2 OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                EXPLANATION OF BANKRUPTCY DISCHARGE
                                         IN A CHAPTER 7 CASE

      This court order is not a dismissal of the case and it does not determine how much money, if any, the trustee
will pay to creditors.
Collection of Discharged Debts Prohibited
      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtors. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtors' property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. This
discharge does not stop creditors from collecting from anyone else who is also liable on the debt, such as an insurance
company or a person who cosigned or guaranteed a loan. Also, a debtor may voluntarily pay any debt that has been
discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;

     b. Debts incurred to pay nondischargeable taxes applicable only to cases filed after October 17, 2005;

     c. Debts that are domestic support obligations applicable only to cases filed after October 17, 2005;

     d. Debts for most student loans;

     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     f. Debts for most personal injuries or death caused by the debtor's operation of a motor vehicle while
     intoxicated;

     g. Some debts which were not properly listed by the debtors in time to permit the creditor to file a proof of
     claim, if required, or file a timely request to determine dischargeability;

     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
     discharged;
     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
     compliance with the Bankruptcy Code requirements for reaffirmation of debts.

     j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
     Plan for federal employees for certain types of loans from these plans applicable only to cases filed after
     October 17, 2005.


       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                            United       of Notice
                                                     States         Pg 3 Court
                                                             Bankruptcy  of 4
                                               Eastern District of Missouri
In re:                                                                                                     Case No. 20-41250-bss
Steven John Gymer, Sr                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0865-4                  User: admin                        Page 1 of 2                          Date Rcvd: Jul 09, 2020
                                      Form ID: 3180                      Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 11, 2020.
db             +Steven John Gymer, Sr,    6101 Savio Dr,    Saint Louis, MO 63123-2760
cr             +First National Bank of Waterloo,    1421 North Main,     P.O. Box 497,   Columbia, IL 62236-0497
24475802       +Blitt & Gaines,   707 N. 2nd Street,     Suite 306,    St. Louis, MO 63102-2535
24475806        Credit Control, LLC,   P.O. Box 546,     Hazelwood, MO 63042-0546
24475807       +D & A Services, LLC,   1400 E. Touhy Ave.,     Suite G2,     Des Plaines, IL 60018-3338
24475808       +ERC,   P.O. Box 1259, Dept. 98696,    Oaks, PA 19456-1259
24475809       +First National Bank of Waterloo,    P.O. Box 507,     Waterloo, IL 62298-0507
24475812        Mercantile Adjustment Bureau,    P.O. Box 9055,     Williamsville, NY 14231-9055
24475814       +Schmersahl Treloar & Co.,    10805 Sunset Office Drive,     Ste. 400,   St. Louis, MO 63127-1028

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QTABROWN.COM Jul 10 2020 07:23:00      Tracy A. Brown,    1034 S. Brentwood Blvd., Ste 1830,
                 St. Louis, MO 63117-1284
24475803        EDI: RMSC.COM Jul 10 2020 07:23:00      BP Visa/Synchrony Bank,    P.O. Box 530942,
                 Atlanta, GA 30353-0942
24475799        EDI: BANKAMER.COM Jul 10 2020 07:23:00      Bank of America,    P.O. Box 851001,
                 Dallas, TX 75285-1001
24475800        EDI: BANKAMER.COM Jul 10 2020 07:23:00      Bank of America NA,    P.O. Box 851001,
                 Dallas, TX 75285-1001
24475804        EDI: CITICORP.COM Jul 10 2020 07:23:00      Citi Cards,    P.O. Box 78045,
                 Phoenix, AZ 85062-8045
24475805        EDI: CITICORP.COM Jul 10 2020 07:23:00      Citibank,    P.O. Box 78045,   Phoenix, AZ 85062-8045
24475810        EDI: IRS.COM Jul 10 2020 07:23:00      Internal Revenue Service,    P.O. Box 66778,   STOP5334STL,
                 Saint Louis, MO 63166
24475811       +E-mail/Text: bncnotices@becket-lee.com Jul 10 2020 03:36:12       Kohl’s,   P.O. Box 1456,
                 Charlotte, NC 28201-1456
24475813       +E-mail/Text: ecfnotices@dor.mo.gov Jul 10 2020 03:35:59       Missouri Department of Revenue,
                 Bankruptcy Unit,   P.O. Box 475,   301 West High Street,     Jefferson City, MO 65105-0475
24476659       +EDI: PRA.COM Jul 10 2020 07:23:00      PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
24475815        EDI: USBANKARS.COM Jul 10 2020 07:23:00      US Bank,    P.O. Box 790084,
                 St. Louis, MO 63179-0084
24475816       +EDI: WFFC.COM Jul 10 2020 07:23:00      Wells Fargo,    3440 Flair Ave.,
                 El Monte, CA 91731-2883
                                                                                              TOTAL: 12

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty*              +Tracy A. Brown,   1034 S. Brentwood Blvd., Ste 1830,    St. Louis, MO 63117-1284
cr*               +PRA Receivables Management LLC,   PO Box 41021,   Norfolk, VA 23541-1021
24475801*          Bank of America, NA,   P.O. Box 851001,   Dallas, TX 75285-1001
                                                                                                TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 11, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 8, 2020 at the address(es) listed below:
              Deborah J. Volmert    on behalf of Creditor   First National Bank of Waterloo
               debbievolmert@hanna-and-volmert.com
              Office of US Trustee    USTPRegion13.SL.ECF@USDOJ.gov
              Robert E. Eggmann    on behalf of Debtor Steven John Gymer, Sr ree@carmodymacdonald.com,
               thr@carmodymacdonald.com;ala@carmodymacdonald.com;syd@carmodymacdonald.com
              Tracy A. Brown    on behalf of Trustee Tracy A. Brown tab7@bktab.com,
               txmotb@sbcglobal.net;dgibson7@bktab.com;TABtrusteeatty@bktab.com;tbrown@ecf.axosfs.com;nevercheck
               999@gmail.com
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                              Form ID: 3180               Total Noticed: 21


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Tracy A. Brown   tab7@bktab.com,
               txmotb@sbcglobal.net;dgibson7@bktab.com;TABtrusteeatty@bktab.com;tbrown@ecf.axosfs.com;nevercheck
               999@gmail.com
                                                                                            TOTAL: 5
